   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 1 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 1 of 40 PageID 819



                        United States District Court
                         Northern District of Texas
                           Fort Worth Division
STATE OF TEXAS,
   Plaintiff,
v.                                           Case 4:21-cv-00579-P
JOSEPH R. BIDEN, JR., et al.;
   Defendants.

    Brief Supporting Renewed Motion for Preliminary Injunction

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   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 2 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 2 of 40 PageID 820



                                             Contents
Introduction ........................................................................................... 1
Facts ........................................................................................................ 1
          A.        Governing laws.................................................................... 1
                    1.        Detention of aliens not lawfully admitted. .............. 2
                    2.        Detention of aliens to protect public health. ........... 3
          B.        The COVID-19 pandemic and the federal response. ......... 3
                    1.        Federal guidance on COVID-19. .............................. 4
                    2.        Restrictions at the U.S.–Mexico border................... 6
          C.        The Title 42 process. ........................................................... 7
                    1.        The Final Rule. ......................................................... 7
                    2.        The scope of the October Order. .............................. 9
                    3.        The Defendants’ use of Title 42 slumps. ............... 10
          D.        Defendants violate their detention obligations. .............. 12
                    1.        Mandatory detention generally. ............................ 12
                    2.        Detention for public-health reasons. ..................... 13
          E.        Texas sues, and the Defendants issue new orders. ......... 14
                    1.        The July Order. ...................................................... 14
                    2.        The August Order................................................... 15
                    3.        The Defendants’ procedures. ................................. 17
          F.        The Defendants’ refusal to detain aliens harms Texas. .. 18
                    1.        Hidalgo County....................................................... 18
                    2.        Webb County. ......................................................... 20
                    3.        Texans’ health. ....................................................... 20
                    4.        Texas’s healthcare spending. ................................. 21
                    5.        Other harms to Texas. ........................................... 22
Argument: Texas is entitled to a preliminary injunction
    requiring the Defendants to comply with their
    mandatory duties and prohibiting their abandonment of
    Title 42. ....................................................................................... 22
          A.        Preliminary injunction standard. ..................................... 22
          B.        Texas is likely to prevail on the merits. ........................... 23




                                                            i
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 3 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 3 of 40 PageID 821



                  1.       The Defendants’ decisions to turn their backs on
                           the Title 42 process were unreasoned. .................. 23
                  2.       The Defendants’ refusal to detain aliens arriving at
                           the southwest border to determine whether they
                           carry the COVID-19 virus is not in accordance with
                           law. .......................................................................... 27
         C.       Texas is suffering irreparable harm................................. 29
         D.       The public interest and the equities favor an injunction. 31
Prayer for Relief ................................................................................. 32




                                                        ii
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 4 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 4 of 40 PageID 822



                                       Table of Authorities
Cases

Alabama Assn. of Realtors v. Dept. of Health & Human Services
  No. 20-cv-3377, 2021 WL 1779282 (D.D.C. May 5, 2021)
  No. 21A23, 594 U.S. ___, 2021 WL 3783142 (Aug. 26, 2021) ........................ 6

Alfred L. Snapp & Son v. Puerto Rico ex rel. Barez
  458 U.S. 592 (1982) ....................................................................................... 30

Arizona v. United States,
  567 U.S. 387 (2012) ....................................................................................... 31

Capital Area Immigrants’ Rights Coalition v. Trump
  471 F. Supp. 3d 25 (D.D.C. 2020) ................................................................. 26

Daniels Health Sciences, LLC v. Vascular Health Sciences, LLC
  710 F.3d 579 (5th Cir. 2013) ................................................................... 22, 23

Dept. of Homeland Sec. v. Thuraissigiam
  140 S.Ct. 1959 (2020) ...................................................................................... 2

Janvey v. Alguire
  647 F.3d 585 (5th Cir. 2011) ......................................................................... 23

Jennings v. Rodriguez
  138 S. Ct. 830 (2018) ................................................................................. 3, 28

League of Women Voters v. Newby
  838 F.3d 1 (D.C. Cir. 2016) ........................................................................... 31

Natural Resources Defense Council v. Wheeler
  955 F.3d 68 (D.C. Cir. 2020) ......................................................................... 25

Nken v. Holder
  556 U.S. 418 (2009) ....................................................................................... 31

P.J.E.S. v. Pekoske
  No. 20-5357 (D.C. Cir. Jan. 29, 2021) ........................................................... 10

P.J.E.S. v. Wolf
  502 F. Supp. 3d 492 (D.D.C. 2020) ............................................................... 10


                                                      iii
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 5 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 5 of 40 PageID 823



Sierra Club v. U.S. Environmetal Protection Agency
  939 F.3d 649 (5th Cir. 2019) ......................................................................... 23

Texas Food Industry Assn. v. U.S. Dept. of Agriculture
  842 F. Supp. 254 (W.D. Tex. 1993) ............................................................... 26

Texas v. Biden, No. 2:21-cv-067-Z
  2021 WL 3603341 (N.D. Tex. Aug. 13, 2021) ............................................... 28

Texas v. Biden, No. 21-10806
  2021 WL 3674780 (5th Cir. Aug. 19, 2021) .................................................. 28

Texas v. United States
  86 F. Supp. 3d 591 (S.D. Tex. 2015) ............................................................. 30

Texas v. United States,
  809 F.3d 134 (5th Cir. 2015) ......................................................................... 22

Texas v. United States, No. 6:21-cv-003
  ___ F. Supp. 3d ___, 2021 WL 2096669 (S.D. Tex. Feb. 23, 2021) ............... 27

U.S. Steel Corp. v. Environmental Protection Agency
  595 F.2d 207 (5th Cir. 1979) ......................................................................... 26

Statutes

42 U.S.C. § 265 .................................................................................................... 7

42 U.S.C. § 268 .................................................................................................... 9

5 U.S.C. § 553 .............................................................................................. 25, 26

5 U.S.C. § 706(2) .......................................................................................... 23, 29

8 U.S.C. § 1158 .................................................................................................... 3

8 U.S.C. § 1182 .................................................................................... 2, 3, 13, 32

8 U.S.C. § 1222 ........................................................................................ 3, 27, 28

8 U.S.C. § 1225 .................................................................................... 2, 3, 27, 28

8 U.S.C. § 1229a .................................................................................................. 2



                                                         iv
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 6 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 6 of 40 PageID 824



8 U.S.C. § 1231 .................................................................................................. 28

Homeland Security Act of 2002
  Pub. L. 107-296, 116 Stat. 2135 ...................................................................... 2

Immigration and Nationality Act
  8 U.S.C. § 1101 et seq. ..................................................................................... 2

Other Authorities

Adam Shaw & Bill Melugin
  Texas border city says more than 7,000 COVID-positive migrants released
  since February, 1,500 in last week
  FOX NEWS (Aug. 4, 2021) ............................................................................... 17

CBP Directive No. 2210-004
  U.S. CUSTOMS AND BORDER PROT. (Dec. 30, 2019).................................. 13, 14

CENTERS FOR DISEASE CONTROL AND PREVENTION, COVID Data Tracker
  https://covid.cdc.gov/covid-data-tracker (last visited Sep. 7, 2021) ............... 4

ICE Detention Statistics, U.S. Immig. & Customs Enforcement
  https://www.ice.gov/doclib/detention/FY21_detentionStats07222020.xlsx
  (downloaded Aug. 23, 2021) .......................................................................... 13

Joshua Skinner & Kate Porter
  Midland leaders blindsided by arrival of migrants at holding facility
  CBS7 (Mar. 14, 2021) .................................................................................... 15

Julia Ainsley
  18 percent of migrant families leaving Border Patrol custody tested positive
  for Covid, document says
  NBC NEWS (Aug. 7, 2021) ............................................................................. 18

Nomaan Merchant & Jake Bleiberg
  Immigrant teens to be housed at Dallas convention center
  ASSOCIATED PRESS (Mar. 15, 2021) ............................................................... 15

Southwest Border Land Encounters
  U.S. CUSTOMS AND BORDER PROTECTION https://www.cbp.gov/newsroom/
  stats/southwest-land-border-encounters (last visited Sep. 7, 2021) ........... 10



                                                         v
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 7 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 7 of 40 PageID 825



TEXAS DEPT. OF STATE HEALTH SERVICES, DSHS COVID-19 Dashboard
  https://dshs.texas.gov/coronavirus/cases.aspx (last visited Sep. 7, 2021) ..... 4

Regulations

1 TEX. ADMIN. CODE § 355.8201 et seq. ............................................................. 22

1 TEX. ADMIN. CODE § 366.903 .......................................................................... 22

42 C.F.R. § 34.7.................................................................................................. 22

42 C.F.R. § 71.40.................................................................................................. 7

Constitutional Provisions

U.S. CONST. art. II, § 3 ...................................................................................... 29

Federal Register entries

Notice of Temporary Exception From Expulsion of Unaccompanied Noncitizen
  Children
  86 Fed. Reg. 9,942 (Feb. 17, 2021) .......................................................... 11, 25

Notification of Temporary Travel Restrictions Between the U.S. and Mexico
  85 Fed. Reg. 16547 (Mar. 24, 2020) ................................................................ 6

Notification of Temporary Travel Restrictions Between the U.S. and Mexico
  86 Fed. Reg. 46,964 (Aug. 23, 2021) ........................................................... 6, 7

Order Suspending the Right to Introduce Certain Persons From Countries
  Where a Quarantinable Communicable Disease Exists
  85 Fed. Reg. 65,806 (Oct. 13, 2020) ...................................................... passim

Public Health Determination Regarding an Exception for Unaccompanied
  Noncitizen Children
  86 Fed. Reg. 38,717 (July 22, 2021) ...................................................... passim

Public Health Reassessment & Order Suspending the Right to Introduce
  Certain Persons
  86 Fed. Reg. 42,828 (Aug. 5, 2021) ....................................................... passim




                                                         vi
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 8 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 8 of 40 PageID 826



                                    Introduction
   Agencies must justify their actions with reason. And they must comport

with the strictures that Congress has placed on them and perform the duties

Congress has demanded of them. The Defendants have failed these tests. They

have not justified the exceptions they have written into a generally applicable

rule, and they have not obeyed the mandate that Congress has given them.

The Court should hold them to the law and require them to act as they should

have been acting since before this case was filed.

                                       Facts

A. Governing laws.

   DHS is charged with enforcing the United States’ immigration laws. This

case concerns DHS’s obligations to detain aliens in accordance with those

laws—to detain them during the removal process and to detain them to

determine whether they are carrying the COVID-19 virus into Texas from

abroad. At issue are:

   •   Portions of the Immigration and Nationality Act requiring that DHS

       detain aliens pending their removal and to determine whether they pose

       a threat to public health;

   •   A Final Rule, see Appx. 1–3, adopted by the CDC allowing it to exclude

       from the country aliens who pose a serious threat of introducing a

       communicable, quarantinable disease;

   •   An October Order, see Appx. 4–10, putting that rule into effect and

       allowing for rapid removal of covered aliens;

   •   A February Order, see Appx. 11–12, excepting unaccompanied alien

       children from the October Order;




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   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 9 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 9 of 40 PageID 827



   •   A de facto policy excepting members of alien family units from the

       October Order;

   •   A July Order, see Appx. 13–15, making the February Order permanent;

       and

   •   An August Order, see Appx. 16–29, largely confirming both the

       February and July Orders.

   1. Detention of aliens not lawfully admitted.
   The Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135, and
the Immigration and Nationality Act, 8 U.S.C. § 1101 et seq., charge DHS with

enforcing the nation’s immigration laws, including the removal of aliens who

are not lawfully present in the United States. Among the aliens who “are

‘inadmissible’ and therefore ‘removable’” are those who lack a valid entry

document when they apply for admission. Dept. of Homeland Sec. v.

Thuraissigiam,    140    S.Ct.   1959,       1964   (2020)   (citing   8   U.S.C.

§§ 1182(a)(7)(A)(i)(l), 1229a(e)(2)(A)). Aliens who arrive in the United States

without having been admitted, and aliens who are present in the United States

without having been lawfully admitted, are deemed to have applied for

admission, and there are expedited procedures for removing these aliens. 8
U.S.C. § 1225(a)(1). They are subject to expedited removal if they (1) are

inadmissible because they lack a valid entry document; (2) have not been

continuously physically present in the United States for the two years

preceding their inadmissibility determination; or (3) are among those whom

the Secretary of Homeland Security has designated for expedited removal. Id.

§ 1225(b)(1)(A). Once an immigration officer determines that such an alien is

inadmissible, the alien must be ordered “removed from the United States




                                         2
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 10 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 10 of 40 PageID 828



 without further hearing or review.” Id. § 1225(b)(1)(A)(i). Otherwise, the

 standard removal procedures apply.

    Whether subject to standard or expedited removal, aliens placed in removal

 proceedings must be detained until the proceedings are complete. See Jennings

 v. Rodriguez, 138 S. Ct. 830, 844–45 (2018) (citing 8 U.S.C. § 1225(b)(1), (2)).

 Similarly, aliens who intend to claim asylum or who claim a credible fear of

 persecution if deported must be detained until their entitlement to asylum is

 determined. See 8 U.S.C. §§ 1158, 1225(b)(1)–(2). DHS may “for urgent
 humanitarian reasons or significant public benefit” temporarily parole these

 aliens, but it may do so “only on a case-by-case basis.” 8 U.S.C. § 1182(d)(5)(A).

    2. Detention of aliens to protect public health.
    Also inadmissible are those aliens who have a “communicable disease of

 public health significance,” as defined by “regulations prescribed by the

 Secretary of Health and Human Services.” 8 U.S.C. § 1182(a)(1)(A)(i). Aliens

 must be detained to determine whether they are inadmissible for public-health

 reasons under two circumstances. First, they must be detained if DHS has

 reason to believe they are “afflicted with” such a disease. 8 U.S.C. § 1222(a).

 Second, they must be detained if DHS “has received information showing that
 [they] are coming from a country or have embarked at a place” where such a

 disease is “prevalent or epidemic[.]” This detention must enable “immigration

 officers and medical officers” to conduct “observation and an examination

 sufficient to determine whether” the aliens are inadmissible. Id.

 B. The COVID-19 pandemic and the federal response.
    In the CDC’s own words, COVID-19 “is a quarantinable communicable

 disease caused by the SARS-CoV-2 virus.” Pub. Health Reassessment & Order

 Suspending the Right to Introduce Certain Persons, 86 Fed. Reg. 42,828, 42,830



                                         3
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 11 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 11 of 40 PageID 829



 (Aug. 5, 2021) (Appx. 18). Since it emerged in late 2019, “SARS–CoV–2, the

 virus that causes COVID–19, has spread throughout the world, resulting in a

 pandemic.” Id. It has upended lives across the planet, with governments

 imposing curfews, shuttering businesses, and closing schools. Since early 2020,

 more than 35 million U.S. residents have been infected with COVID-19,

 including more than 2.6 million in Texas. Nearly 645,000 U.S. residents have

 died from COVID-related causes, more than 57,000 of them in Texas. See CTRS.

 FOR    DISEASE     CONTROL      AND    PREVENTION,    COVID      Data   Tracker,

 https://covid.cdc.gov/covid-data-tracker (last visited Sep. 7, 2021); TEX. DEPT.

 OF STATE HEALTH SVCS., DSHS COVID-19 Dashboard, https://dshs.texas.gov/

 coronavirus/cases.aspx (last visited Sep. 7, 2021).

    1. Federal guidance on COVID-19.
    The CDC recommends a 14-day quarantine for those who “have been in

 close contact (within 6 feet of someone for a cumulative total of 15 minutes or

 more over a 24-hour period) with someone who has COVID-19….” Quarantine

 and Isolation, CTRS.      FOR   DISEASE CONTROL       AND   PREVENTION, https://

 www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/quarantine.html (July 29,

 2021) (last visited Sep. 7, 2021). This “does not apply to those who have been

 fully vaccinated … unless they have symptoms,” but even those people “should

 get tested 3–5 days after their exposure, even if they don’t have symptoms,”

 and they should “wear a mask indoors in public for 14 days following exposure

 or until their test result is negative.” Id.

    Since COVID-19 was first declared a public-health emergency in January

 2020, the federal government has implemented a number of COVID–19

 mitigation and response measures. “Recent concerns regarding the spread of

 the Delta variant prompted CDC to release updated guidance calling for



                                           4
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 12 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 12 of 40 PageID 830



 vaccinated persons to wear a mask indoors in public when in an area of

 substantial or high transmission.” Appx. 19 (footnotes omitted). The “other

 measures” currently in effect include:

     •   Requiring the use of masks by federal employees and on federal

         property, see Exec. Order No. 13991, 86 Fed. Reg. 7,045 (Jan. 25, 2021);

     •   Recommending that teachers, staff, and students in K-12 schools wear

         masks, see CTRS. FOR DISEASE CONTROL AND PREVENTION, Guidance for

         COVID-19 Prevention in K-12 Schools (July 9, 2021); 1

     •   Continuing to require individuals to wear masks while in airports and

         on airplanes, see TRANSP. SEC. ADMIN., TSA extends face mask
         requirement at airports and throughout the transportation network (Apr.

         30, 2021); 2

     •   Requiring that all civilian federal employees show proof of vaccination

         status, see THE WHITE HOUSE, FACT SHEET: President Biden to

         Announce New Actions to Get More Americans Vaccinated and Slow the

         Spread of the Delta Variant (July 29, 2021); 3 and

     •   Ordering a moratorium on evictions for failure to pay rent, see Temp.

         Halt in Residential Evictions, 86 Fed. Reg. 43244 (Aug. 6, 2021). But see

         Ala. Assn. of Realtors v. Dept. of Health & Human Svcs., No. 20-cv-3377,

         2021 WL 1779282 (D.D.C. May 5, 2021) (vacating moratorium); No.



 1   https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/k-12-
     guidance.html
 2   https://www.tsa.gov/news/press/releases/2021/04/30/tsa-extends-face-mask-
     requirement-airports-and-throughout
 3   https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/29/fact-
     sheet-president-biden-to-announce-new-actions-to-get-more-americans-vaccinated-
     and-slow-the-spread-of-the-delta-variant/


                                           5
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 13 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 13 of 40 PageID 831



        21A23, 594 U.S. ___, 2021 WL 3783142 (Aug. 26, 2021) (denying stay of

        vacatur).

     2. Restrictions at the U.S.–Mexico border.
     “Other mitigation measures have involved restrictions on international

 travel and migration.” Appx. 19 (footnotes omitted). The Defendants have

 imposed or continued four Presidential Proclamations suspending the entry of

 individuals from thirty-three countries across the world—including almost all

 of the nation’s NATO allies—based on the threat posed by the potential spread
 of COVID-19. See generally U.S. DEPT. OF STATE, COVID-19 Travel Restrictions
 and Exceptions (June 24, 2021). 4

     Another restriction has been to limit all but essential travel between the

 United States and Mexico. See Notif. of Temp. Travel Restrictions Between the

 U.S. and Mex., 85 Fed. Reg. 16547 (Mar. 24, 2020) (Appx. 30–31). In the latest

 notice continuing these restrictions, DHS reiterated that it had “determined

 that the risk of continued transmission and spread of the virus associated with

 COVID-19 between the United States and Mexico poses an ongoing ‘specific

 threat to human life or national interests,’” Notif. of Temp. Travel Restrictions

 Between the U.S. and Mex., 86 Fed. Reg. 46,964 (Aug. 23, 2021) (Appx. 32), and

 additionally observed that “the Delta variant is driving an increase in cases,

 hospitalizations, and deaths in the United States.” Id. DHS and its Mexican

 counterparts had “determined that non-essential travel between the United

 States and Mexico … places the populace of both nations at increased risk of

 contracting the virus associated with COVID–19.” Appx. 33. DHS additionally

 justified the continued suspension of non-essential travel to and from Mexico


 4   https://travel.state.gov/content/travel/en/us-visas/visa-information-resources/covid-
     19-travel-restrictions-and-exceptions.html


                                              6
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 14 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 14 of 40 PageID 832



 because “the sustained human-to-human transmission of the virus, coupled

 with risks posed by new variants, returning to previous levels of travel between

 the two nations [would place] the personnel staffing land ports of entry

 between the United States and Mexico, as well as the individuals traveling

 through these ports of entry, at increased risk of exposure to the virus

 associated with COVID–19.” Id.

 C. The Title 42 process.

    1. The Final Rule.
    On September 11, 2020, the CDC published a final rule that “establishe[d]

 final regulations under which the Director [of the CDC] may suspend the right

 to introduce and prohibit, in whole or in part, the introduction of persons into

 the United States for such period of time as the Director may deem necessary

 to avert the serious danger of the introduction of a quarantinable

 communicable disease into the United States.” 85 Fed. Reg. 56,424 (Sep. 11,

 2020) (codified at 42 C.F.R. § 71.40). This Final Rule, issued under the

 authority granted by the Public Health Service Act, 42 U.S.C. § 265, became

 effective on October 13, 2020. The day the Final Order became effective, the

 CDC issued the October Order, which suspended the right of persons traveling

 from countries where COVID-19 is endemic to enter the United States. See
 Order Suspending the Right to Introduce Certain Persons From Countries

 Where a Quarantinable Communicable Disease Exists, 85 Fed. Reg. 65,806

 (Oct. 13, 2020) (Appx. 4–10). Collectively, the Final Rule and this October

 Order work together in a process generally known as “Title 42.”




                                        7
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 15 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 15 of 40 PageID 833



     Though issued under the Final Rule, the October Order was the latest in a

 series of orders issued under the interim final rule. 5 As had the earlier orders,

 the October Order suspended introducing covered aliens into the United

 States, a suspension lasting until CDC determined that “the danger of further

 introduction of COVID-19 into the United States has ceased to be a serious

 danger to the public health[.]” Appx. 7. The suspension was based on findings

 that:

     •   COVID-19 is a communicable disease that poses a danger to the public

         health;

     •   COVID-19 is present in numerous foreign countries, including Canada

         and Mexico;

     •   Because COVID-19 is so globally widespread, there is a serious danger

         that it will be carried into the land points of entry and Border Patrol

         stations at or near the United States’ borders with Canada and Mexico,

         and from there into the interior of the country;

     •   If their entry were not suspended, covered aliens would be go through

         immigration processing at the land points of entry and Border Patrol

         stations that would require many of them (typically aliens who lack

         valid travel documents and are therefore inadmissible) to be held in the

         congregate areas of the facilities, in close proximity to one another, for

         hours or days;

     •   Holding them in such settings would increase the already serious danger

         to the public health of the United States; and


 5   CDC issued an interim final rule on March 24. 85 Fed. Reg. 16,559 (Mar. 24, 2020). It
     also issued a series of orders that initially covered only 30 days apiece before being
     amended to require review every 30 days. Id. at 17,060 (Mar. 26, 2020); 22,424 (Apr.
     22, 2020); 31,503, 31,507–08 (May 26, 2020).


                                             8
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 16 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 16 of 40 PageID 834



    •   This increased danger rose to the level that it required a temporary

        suspension of the introduction of covered aliens into the United States.

 Appx. 8.

    Customs and Coast Guard officers have the duty to “aid in the enforcement

 of quarantine rules and regulations,” 42 U.S.C. § 268, and the Order noted that

 CDC had requested “that DHS aid in the enforcement [of] this Order because

 CDC does not have the capability, resources, or personnel needed to do so.”

 Appx. 10. CDC needed this assistance because of its own public health tools’
 not being “viable mechanisms given CDC resource and personnel constraints,

 the large numbers of covered aliens involved, and the likelihood that covered

 aliens do not have homes in the United States.” Id.

    2. The scope of the October Order.
    The October Order applied to all covered aliens, defined as aliens “seeking

 to enter the United States … who lack proper travel documents,” “whose entry

 is otherwise contrary to law,” or “who are apprehended at or near the border

 seeking to unlawfully enter the United States.” Appx. 5.

    Among other exceptions, the October Order did not apply to those “whom

 customs officers determine, with approval from a supervisor, should be

 excepted based on the totality of the circumstances, including consideration of

 significant law enforcement, officer and public safety, humanitarian, and

 public health interests.” Id. In those limited circumstances, DHS was required

 to “consult with CDC concerning how these types of case-by-case,

 individualized exceptions” were to be made to help “ensure consistency with

 current CDC guidance and public health assessments.” Id.

    The October Order noted that expulsions under CDC’s prior orders had

 “reduced the risk of COVID-19 transmission in [points of entry] and Border



                                        9
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 17 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 17 of 40 PageID 835



 Patrol Stations, and thereby reduced risks to DHS personnel and the U.S.

 health care system.” Id. It further noted that “[t]he public health risks to the

 DHS workforce—and the erosion of DHS operational capacity—would have

 been greater” without the initial suspension order. Appx. 8. Further, the

 suspension orders “significantly reduced the population of covered aliens in

 congregate settings in [points of entry] and Border Patrol stations, thereby

 reducing the risk of COVID-19 transmission for DHS personnel and others

 within these facilities.” Appx. 8.
     DHS began using its Title 42 authority to expel aliens in March 2020, and

 the population of aliens processed under Title 8 (the ordinarily applicable

 immigration rules) plummeted. Out of more than 253,000 total southwest

 border encounters under Title 8 in Fiscal Year 2020, fewer than 25,000

 occurred in the last six months of the year. 6 During that same six-month

 period, nearly 200,000 aliens were rapidly expelled under Title 42.

     3. The Defendants’ use of Title 42 slumps.

        a. unaccompanied alien children are placed outside Title 42.
     On November 18, 2020, the U.S. District Court for the District of Columbia

 issued a preliminary injunction that enjoined the Defendants from applying
 Title 42 to unaccompanied alien children. P.J.E.S. v. Wolf, 502 F. Supp. 3d 492

 (D.D.C. 2020). The D.C. Circuit stayed that injunction in late January. P.J.E.S.

 v. Pekoske, No. 20-5357 (D.C. Cir. Jan. 29, 2021).

     The stay enabled the Defendants once again to apply Title 42 to

 unaccompanied alien children. Rather than do so, however, CDC announced



 6   The CBP statistics cited in this First Amended Complaint are available at Sw. Border
     Land Encounters, U.S. CUSTOMS AND BORDER PROT., https://www.cbp.gov/newsroom/
     stats/southwest-land-border-encounters (last visited Sep. 7, 2021).


                                           10
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 18 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 18 of 40 PageID 836



 that it would except them from the October Order, and backdated the exception

 to the date the stay was lifted. Not. of Temp. Exception From Expulsion of

 Unaccompanied Noncitizen Children, 86 Fed. Reg. 9,942 (Feb. 17, 2021) (Appx.

 11).

    The retroactive order noted that COVID-19 continued to pose a “highly

 dynamic public health emergency” and that the CDC was “in the process of

 reassessing the overall public health risk at the United States’ borders and

 [the October Order] based on the most current information….” Id. Other than
 those general statements, the order did not explain why CDC had decided not

 to apply Title 42 to unaccompanied alien children.

        Unsurprisingly, after excepting them from Title 42, the number of

 unaccompanied alien children encountered at the southwest border increased,

 reaching roughly 9,500 in February (a 61% increase over the number

 encountered in January and 105% more than November). The number rose

 sharply to 18,890 in March and has remained elevated ever since: more than

 17,000 encounters in April; more than 14,000 in May; more than 15,000 in

 June; and nearly 19,000 in July.

          b. Those claiming to be family groups are de facto placed
             outside Title 42.

    As unaccompanied alien children were placed outside the purview of Title

 42, the Defendants slowly stopped applying Title 42 to members of family

 units. Unlike the exception for unaccompanied alien children, however, this

 was neither announced nor formalized. Instead, it happened sub silentio,

 becoming a de facto policy as, among other things, Mexico’s government began

 refusing to accept the return of certain aliens who would have been expelled

 from certain ports of entry. See Appx. 39 at ¶ 19–20.




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   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 19 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 19 of 40 PageID 837



    The total encounters with family units spiked following January 2020. But

 rather than spiking along with it, the Defendants’ application of Title 42 has

 cratered:
                                    Title 42 applications to family units
  Month            Family-unit      Absolute             Percentage
                   encounters
  November 2020 4,302               3,641                84.6
  December 2020    4,404            3,332                75.7
  January 2021     7,296            4,546                62.3
  February 2021    19,588           9,476                48.4
  March 2021       54,116           21,430               39.6
  April 2021       50,089           17,799               35.5
  May 2021         44,746           9,145                20.4
  June 2021        55,805           8,070                14.5
  July 2020        82,966           9,948                12.0

 Put differently, between November 2020 and July 2021, the number of family-

 unit members rapidly expelled under Title 42 almost tripled—but encounters

 with members of family units increased more than six times as fast, growing

 19-fold.
    All told, between family-unit members and unaccompanied alien children,

 DHS has during the current fiscal year placed into Title 8 proceedings roughly

 345,000 aliens who otherwise would have been rapidly expelled under Title 42.

 D. Defendants violate their detention obligations.

    1. Mandatory detention generally.
    With limited exceptions, the duty to detain aliens pending removal falls not

 to CBP, but to ICE. ICE’s own data shows that it is not complying with the

 requirement that it detain all persons who appear at the border without


                                       12
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 20 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 20 of 40 PageID 838



 permission to enter into the United States. The overwhelming majority of

 family-unit members are not detained at all; the few who are detained are

 released into the United States in a matter of days.

     To date in Fiscal Year 2021, ICE processed roughly 9,500 aliens into Family

 Residential Centers. 7 From March–July 2021, the average detainee in a

 Family Residential Center was there for approximately a week. As of its last

 report, ICE was detaining only 1,118 family-unit aliens in those centers.

     If CBP has processed nearly 236,000 family-unit aliens this fiscal year

 under Title 8 but ICE has processed only 9,500 of them into a Family

 Residential Center, DHS has released 96% of family-unit aliens into the United

 States rather than detaining them as the law requires. DHS can release such

 aliens only on a case-by-case basis for urgent humanitarian reasons or

 significant public benefit. 8 U.S.C. § 1182(d)(5)(A). Given the number of aliens

 released, for this case-by-case analysis to have occurred is all but impossible.

     2. Detention for public-health reasons.
     CBP’s Directive 2210-004 guides the agency’s “medical support for

 individuals in CBP custody along the [Southwest Border].” CBP Directive No.

 2210-004, U.S. CUSTOMS AND BORDER PROT., at ¶ 2 (Dec. 30, 2019) (Appx. 111).
 Under that directive, “[c]onsistent with short-term detention standards and

 applicable legal authorities,” CBP does not detain individuals “in CBP facilities

 for the sole purpose of completing non-emergency medical tasks.” Id. at ¶ 3.

     The Directive mentions neither screening for COVID-19 nor detention to

 screen for public-health inadmissibility. Given that CBP does not detain aliens



 7   Statistics regarding ICE detentions are taken from ICE Detention Statistics, U.S.
     Immig. & Customs Enft., https://www.ice.gov/doclib/detention/FY21_detentionStats
     07222020.xlsx (downloaded Aug. 23, 2021).


                                          13
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 21 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 21 of 40 PageID 839



 so it can complete “non-emergency medical tasks,” id., those screenings must

 be accomplished elsewhere—for family-unit members, at least, at ICE. But

 given that ICE processed only 9,500 such aliens into its facilities, the other

 225,000 of them—more than entire population of Amarillo; nearly the

 population of Irving or Garland—were certainly not detained for the CDC-

 recommended three-to-five days for even a vaccinated person to be tested for

 possible exposure to COVID-19.

 E. Texas sues, and the Defendants issue new orders.

    1. The July Order.
    Texas filed this suit on April 22, and the Court heard Texas’s motion for a

 preliminary injunction on July 13. ECF Nos. 1, 49. Six days later, the CDC

 issued a new order excepting unaccompanied alien children from the October

 Order. See Pub. Health Determ. Regarding an Exception for Unaccompanied

 Noncitizen Children, 86 Fed. Reg. 38,717 (July 22, 2021) (signed July 19, 2021)

 (Appx. 13–15).

    The July Order stated that it was based on findings related to the

 mitigation measures DHS had put in place for unaccompanied alien children.

 Appx. 13–14. These measures included using masks, testing, cohorting

 unaccompanied alien children according to test status, vaccinating staff,
 making the vaccination available to unaccompanied alien children over 12

 years of age, and expanding the capacity at facilities where unaccompanied

 alien children are held. According to the July Order, these were sufficient “to

 protect the children, caregivers, and local communities from elevated risk of

 COVID-19 transmission,” and “U.S. healthcare resources” would therefore not

 be significantly affected by the need to furnish care to those unaccompanied

 alien children. Appx. 15.



                                       14
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 22 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 22 of 40 PageID 840



     DHS simultaneously conceded, however, that more than 15,000 of the

 children in its care—either in its own facilities or those in which they had been

 placed by the Office of Refugee Resettlement—had tested positive for COVID-

 19. Appx. 14. And it simultaneously conceded that unaccompanied alien

 children are quarantined upon arriving at CBP facilities for only 7 days rather

 than the 14 recommended by the CDC; that children who test positive for

 COVID-19 are isolated for only 10 days, rather than the 14 recommended by

 the CDC; and that children exposed to COVID-19 are isolated for only 10 days,
 rather than the 14 recommended by the CDC. Appx. 14 fn. 19. It gave no reason

 for these deviations from the CDC’s recommendations.

     More, DHS does not keep these children near the ports of entry where they

 are processed into DHS custody. Rather, they are transported across the

 country. HHS has opened makeshift emergency shelters across the country,

 including one at a converted oilfield workers’ camp in Midland and another at

 the Hutchison Convention Center in Dallas. See Joshua Skinner & Kate

 Porter, Midland leaders blindsided by arrival of migrants at holding facility,

 CBS7 (Mar. 14, 2021); 8 Nomaan Merchant & Jake Bleiberg, Immigrant teens

 to be housed at Dallas convention center, ASSOCIATED PRESS (Mar. 15, 2021). 9

     2. The August Order.
     On August 3, 2021, CDC issued an order superseding the October Order

 and incorporating the July Order by reference. Pub. Health Reassessment and

 Order Suspending the Right to Introduce Certain Persons, 86 Fed. Reg. 48,828



 8   https://www.cbs7.com/2021/03/14/gov-abbott-federal-hhs-sending-some-migrants-to-
     midland
 9   https://apnews.com/article/dallas-health-coronavirus-pandemic-immigration-border-
     patrols-fa567f671faa0e9eb33e37f30746f1b6


                                           15
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 23 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 23 of 40 PageID 841



 (Aug. 5, 2021) (Appx. 16–29). The August Order included no further findings

 or conclusions regarding those children. Appx. 26.

    The August Order summarized the current state of emergency and nature

 of the pandemic:

    •   “78 countries continue to experience high or substantial incidence rates

        (≥50 cases per 100,000 people in the last seven days) and 123 countries,

        including the United States, are experiencing an increasing incidence of

        reported new cases.” Appx. 19.
    •   In the week preceding the August Order, Mexico—through which all

        aliens appearing for entrance at the southwest border must travel—

        "experienced a 30.2% increase in new cases” of COVID-19. Id.

    •   “Congregate settings, particularly detention facilities with limited

        ability to provide adequate physical distancing and cohorting, have a

        heightened risk of COVID-19 outbreaks.” Appx. 21. CBP facilities

        themselves have “[s]pace constraints [that] preclude implementation of

        cohorting and consequence management such as quarantine and

        isolation.” Appx. 25.

    •   “The rapid spread of the highly transmissible Delta variant is leading to

        worrisome trends in healthcare and community resources. Signs of

        stress are already present in the southern regions of the United States.”

        Appx. 23.

    •   “Countries of origin for the majority of incoming covered [aliens] have

        markedly lower vaccination rates.” Of the top five originating countries,

        El Salvador, at 22%, had the highest rate of vaccinated persons;

        Guatemala and Honduras, the two lowest, had 1.6% and 1.8%,

        respectively. Appx. 22 & n.57.




                                         16
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 24 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 24 of 40 PageID 842



      •   “At the time [the order was issued], over 70% of U.S. counties along the

          U.S.-Mexico border were classified as experiencing high or substantial

          levels of community transmission.” Id. & fn. 61. None of Texas’s 14

          border   counties    were    “experiencing     low    levels   of   community

          transmission.” Two of them were “experiencing moderate levels of

          community transmission[.]” The other twelve? “[H]igh levels of

          community transmission[.]” Id.

      The August Order concedes that “the flow of migration directly impacts not
 only border communities and regions, but also destination communities and

 healthcare resources of both.” Appx. 23. The Order came only days after the

 Defendants released more than 1,500 COVID-positive illegal aliens into the

 city of McAllen, Texas. See Adam Shaw & Bill Melugin, Texas border city says

 more than 7,000 COVID-positive migrants released since February, 1,500 in

 last week, FOX NEWS (Aug. 4, 2021); 10 see also Facts § F.1.

      The August Order did not authorize or attempt to justify excepting family-

 unit members from the Title 42 expedited-removal proceedings. Indeed, it

 concluded that “the continued suspension of the right to introduce” family-unit

 members into the United States “is appropriate….” Appx. 26.

      3. The Defendants’ procedures.
      As the Defendants routinely admit, they do not test any of the aliens they

 apprehend for COVID-19 unless the alien already shows symptoms of the

 disease. See, e.g., Julia Ainsley, 18 percent of migrant families leaving Border

 Patrol custody tested positive for Covid, document says, NBC NEWS (Aug. 7,




 10   https://www.foxnews.com/politics/texas-border-city-covid-positive-migrants-released-
      february-last-week


                                             17
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 25 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 25 of 40 PageID 843



 2021). 11 Rather, they “coordinate[] with NGOs upon the release” of aliens so

 the aliens “receive prompt COVID-19 testing prior to being released into the

 community[.]” Appx. 123 at ¶ 24. If an alien tests positive for COVID-19, they

 “coordinate[] with appropriate NGOs for the provision of non-congregate

 accommodations so that the family members released from CBP custody can

 properly isolate and/or quarantine[.]” Id.

 F. The Defendants’ refusal to detain aliens harms Texas.
      Texas has suffered and continues to suffer irreparable harm because of the

 Defendants’ actions. The October Order acknowledged as much: “[S]everal

 cities and states, including several located at or near U.S. borders, continue to

 experience widespread, sustained community transmission that has strained

 their healthcare and public health systems.” Appx. 10. And the August Order

 recognized that the “flow of migration directly impacts not only border

 communities and regions, but also destination communities and healthcare

 resources of both.” Appx. 23. The Defendants themselves agreed that Texas

 will suffer “concrete injuries” as a result of “a decrease in any immigration

 enforcement.” Appx. 42 § II.A.1. These harms are most manifest along Texas’s

 southwest border.

      1. Hidalgo County.
      Hidalgo County declared a state of disaster “because of the growing threat

 of COVID-19 that may be present among the ongoing surge” of illegal

 immigrants being released into the county. Appx. 51. That threat was due to

 DHS’s “releasing an alarmingly substantial number of immigrants into the

 City of McAllen …, including individuals that are positive for COVID-19,”


 11   https://www.nbcnews.com/politics/immigration/18-percent-migrant-families-leaving-
      border-patrol-custody-tested-positive-n1276244


                                           18
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 26 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 26 of 40 PageID 844



 which had “overwhelmed” the ability of local governments and aid

 organizations to “adequately feed, house, provide medical attention[,] or

 otherwise accommodate” them. Appx. 52. Among the overtaxed resources were

 local hospitals, which were dealing with COVID-19 hospitalization rates of

 more than 18 percent. Appx. 51. This came only a day before the City of

 McAllen itself built a temporary emergency shelter “for the overwhelming

 number of immigrants stranded in McAllen by U.S. Customs and Border

 Protection.” Appx. 54–56. As the city noted in announcing the shelter, when
 these aliens “are released, the federal government does not test them for

 COVID-19 or provide assistance … to make arrangements for temporary

 housing.” Appx. 54. From mid-February 2021 until August 4, when it

 announced the shelter, more than “7,000 confirmed COVID-19 positive

 immigrants [had been] released into the City of McAllen by CBP, including

 over 1,500 new cases in the past seven days.” Appx. 55.

    All of this followed a nationally reported incident on July 26. Appx. 57–62.

 That afternoon, police were called to a Whataburger in La Joya due to

 complaints about a family of four that was coughing, sneezing, and not wearing

 masks. Appx. 60. The family were illegal immigrants who were suffering from

 COVID-19, had been apprehended by DHS, and had been released to the care

 of Catholic Charities of the Rio Grande Valley. Id. The family was supposed to

 be quarantining in a nearby hotel, but had been told that they were free to

 leave if they wished, as others staying at the hotel said they had been told.

 Appx. 60–61. The hotel manager owner stated that the entire hotel had been

 rented by Catholic Charities and was used to house aliens with COVID-19; an

 employee stated that more than half of the people who had been placed at the

 hotel had left. Appx. 61. The DHS agent in charge of the Rio Grande Sector

 disclaimed any control over Catholic Charities or how it handled the sick


                                       19
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 27 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 27 of 40 PageID 845



 people remanded to its care. Id. The officer who investigated the hotel

 estimated that between 20 and 30 people were walking about the property, the

 majority without masks, id., and was later informed that Catholic Charities

 would be placing security guards at the hotel to keep sick aliens from leaving

 the property. Appx. 62.

    2. Webb County.
    Webb County proclaimed a state of disaster as a result of DHS’s

 “transportation of large numbers of individuals (refugees, immigrants and/or
 migrants, a significant portion of whom are unvaccinated, untested for the

 COVID-19 virus and COVID positive who have been apprehended from outside

 Webb County and [] transported into Webb County … for the purpose of

 processing and release into the community….” Appx. 63. This “unanticipated

 influx” of aliens by DHS had “overwhelmed local resources and services to the

 extent that they [could] no longer adequately feed, house, provide medical

 attention or otherwise accommodate” those aliens. Id. The City of Laredo

 estimated that 40 to 50 percent of the aliens bused into the city by DHS were

 positive for COVID-19. Appx. 68. More, its shelters cannot accommodate the

 number of aliens being sent to the city in a manner that is safe and consistent
 with CDC guidelines. Id.

    3. Texans’ health.
    The release of aliens who have not been treated or screened for COVID-19

 furthers the spread of that pandemic throughout the United States in general

 and Texas in particular, increasing the risk to Texans of infection and

 compounding the difficulties already faced by Texas’s public-health officials.

 As the July Order admitted, more than 15,000 unaccompanied alien children




                                       20
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 28 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 28 of 40 PageID 846



 have tested positive for COVID-19 while under the care of CBP or an Office of

 Refugee Resettlement facility. Appx. 14.

    One need not take Texas’s word for this—DHS has confirmed it. Among the

 justifications for the October Order was the reduction in “the risk of COVID-

 19 transmission … to DHS personnel and the U.S. health care system.”

 Appx. 8. Further, DHS’s Assistant Secretary for Border and Immigration

 Policy, David Shahoulian, has sworn to the increased risk of COVID-19

 infections posed by permitting illegal aliens into the United States from the
 southwestern border: Due to “the highly transmissible COVID-19 Delta

 variant,” the “rates at which encountered noncitizens are testing positive for

 COVID-19 have increased significantly in recent weeks.” Appx. 75. And indeed,

 “the rate of infection among CBP officers … recently began increasing again,

 even though the percentage of officers and agents who have been fully

 vaccinated has grown significantly since January,” leading “to increasing

 numbers of CBP personnel being isolated and hospitalized.” Id. The threat to

 Texas’s residents and visitors is no less.

    4. Texas’s healthcare spending.
    The most direct financial impact of the Defendants’ non-enforcement of

 their detention obligations is on Texas’s healthcare spending. Aliens seeking

 medical care from providers in Texas—particularly emergency medical care—

 cost Texas tens of millions of dollars per year. For Fiscal Year 2015—the last

 year that a report is available—the Texas Health and Human Services

 Commission estimated that Texas spent roughly $80 million on emergency

 Medicaid services for illegal aliens. Appx. 83.

    These expenditures represent the most direct financial impact because

 DHS pays for aliens’ medical care only while the aliens are actually in DHS’s



                                        21
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 29 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 29 of 40 PageID 847



 custody. See 42 C.F.R. § 34.7(a). For released aliens, it is Texas—through

 Emergency Medicaid, see 1 TEX. ADMIN. CODE § 366.903, and other programs

 that reimburse healthcare providers for otherwise-unpaid services, see id.

 §§ 355.8201–355.8202, 355.8212–355.8215—that pays these costs.

    5. Other harms to Texas.
    In addition, releasing aliens who are not entitled to be released imposes

 upon Texas harms that have been regularly recognized. For example, Texas

 incurs costs to furnish drivers licenses to illegal aliens whose presence DHS

 has temporarily regularized; Texas incurs costs to furnish education to alien

 minors; and Texas incurs costs to incarcerate aliens who are convicted of

 crimes while they are not legally present in the United States. See Appx. 88–

 95 (education); Appx. 96–107 (driver’s licenses); Appx. 108–110 (incarceration);

 Texas v. United States, 809 F.3d 134, 155–56 (5th Cir. 2015).

                               Argument:
      Texas is entitled to a preliminary injunction requiring the
  Defendants to comply with their mandatory duties and prohibiting
                     their abandonment of Title 42.

 A. Preliminary injunction standard.
    Texas is entitled to a preliminary injunction because it satisfies each factor

 of the familiar four-factor test. See, e.g., Daniels Health Scis., LLC v. Vascular

 Health Scis., LLC, 710 F.3d 579, 582 (5th Cir. 2013). First, it is likely to prevail

 on the merits; the Defendants have a mandatory duty to perform, and they

 aren’t performing it. Second, there is a substantial threat—actually, an

 ongoing suffering—of irreparable injury; Texas and Texans are currently being

 exposed to a virulent disease as a result of the Defendants’ inaction, and they

 cannot recover money damages for it. Finally, the balance of harms and the

 public interest favor the injunction Texas seeks; the public is always served by


                                         22
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 30 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 30 of 40 PageID 848



 holding the government to its legal obligations, and the benefit to the public of

 containing the potential spread of COVID-19 outweighs the benefit of allowing

 the Defendants to continue to shirk their duties.

 B. Texas is likely to prevail on the merits.
    “Likely to prevail on the merits” is a term of art that merely requires that

 Texas make a prima facie case on each element of its claim. See Daniels Health,

 710 F.3d at 582 (citing Janvey v. Alguire, 647 F.3d 585, 595–96 (5th Cir. 2011)).

 Texas easily clears that bar; the Defendants’ decision was both unreasoned and
 contrary to the duties that Congress has mandated.

    1. The Defendants’ decisions to turn their backs on the Title 42
       process were unreasoned.

    Both the July Order (incorporated into the August Order) removing

 unaccompanied alien children from the purview of Title 42 and the de facto

 policy of not placing family-unit members into the Title 42 process are final

 agency actions. Both of them are arbitrary, capricious, abuses of discretion,

 and otherwise not in accordance with the law. See 5 U.S.C. § 706(2)(A). To

 satisfy that requirement, the Defendants had to engage in “reasoned

 decisionmaking,” meaning that their process had to be “logical and rational,”

 with their decision being lawful “only if it rests on a consideration of the

 relevant factors” that “includ[es] a rational connection between the facts found

 and the choice made.” Sierra Club v. U.S. Envtl. Prot. Agency, 939 F.3d 649,

 664 (5th Cir. 2019) (cleaned up). Under this standard, unexplained

 inconsistencies in the rulemaking records are grounds for striking down the

 action. Id.




                                        23
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 31 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 31 of 40 PageID 849



       a. The July Order is inconsistent with and not rationally
          connected to the concerns addressed in the October Order.
    It is inconsistency that dooms the July Order—in excepting unaccompanied

 alien children from the October Order, it answers a question that the October

 Order never asked. The October Order was “intended to help mitigate the

 continued risks of transmission and spread of COVID-19 to CBP personnel,

 U.S. citizens, lawful permanent residents, and other persons in the [ports of

 entry] and Border Patrol stations;” the “further transmission and spread of

 COVID-19 in the interior of the United States;” and the increased strain on the
 healthcare system that those transmissions and spreads would cause. Appx. 6.

 Protecting against those transmissions requires that aliens be removed from

 the United States “as rapidly as possible, with as little time spent in congregate

 settings as practicable,” to minimize the risk of “introducing, transmitting, or

 spreading COVID-19 into [DHS facilities], other congregate settings, and the

 interior.” Appx. 10.

    Yet it is not these harms that the July Order claims to have overcome.

 Rather, the July Order proclaims that it is appropriate to except

 unaccompanied alien children from the October Order because DHS has gotten

 better at preventing those children from spreading COVID-19 to each other.
 Appx. 13. Indeed, the July Order concedes that the children still spend, on

 average, more than a day clustered at a DHS facility, where they are able to

 expose other detainees, DHS personnel, and American citizens and residents

 to whatever viruses they are carrying. Appx. 14. Rather than attempting to

 prevent any viruses the children are carrying from reaching the interior, the

 Defendants send the children away from facilities where they can monitor

 them and their health, sending them into the very interior of the country that

 the October Order is designed to protect. Id. And, again, CDC concedes that



                                        24
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 32 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 32 of 40 PageID 850



 more than 15,000 unaccompanied alien children have been diagnosed with

 COVID-19—roughly 8,500 of them in the custody of someone other than DHS.

 Id.

       Testimony suggests that this lack of connection is because the July Order

 was not an explanation, but a justification used to backfill the conclusion on

 which the Defendants had already decided. Rodney Scott, the former Chief of

 the U.S. Border Patrol, attests that he was instructed to stand down from re-

 instating the Title 42 program for unaccompanied minors the day after the stay
 preventing that re-instatement was lifted—18 days before the February Order

 created a backdated exception for unaccompanied minors. Appx. 37–38 at ¶ 9.

 When he posed questions to the Acting Commissioner of CBP regarding that

 stand-down order, Appx. 38 at ¶ 10, he was met with silence—a “significant

 departure from well-established practices and protocols,” which would have

 included the Chief “in detailed briefings and deliberations to facilitate

 informed decision-making prior to implementing a significant policy decision

 such as this.” Appx. 38 at ¶ 12.

           b. The July Order was promulgated without the necessary
              notice-and-comment period.
       The July Order is additionally void because it was adopted without the

 required notice-and-comment proceedings, a failure for which the Defendants

 have no excuse. See 5 U.S.C. § 553(b)–(c). This “fundamental flaw … normally

 requires vacatur of the rule.” Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 85

 (D.C. Cir. 2020).

       •   The press of time was not a concern. Cf. 5 U.S.C. § 553(b)(B). The five

           months that passed between the February Order’s suspension and the

           July Order’s permanent exception were more than enough time for the

           Defendants to field and consider input from the public, and the good-


                                          25
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 33 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 33 of 40 PageID 851



        cause exception to the APA’s notice-and-comment requirement is

        intended for situations when there is true danger in not acting, not when

        the agency simply finds them inconvenient. See U.S. Steel Corp. v. EPA,

        595 F.2d 207, 214 (5th Cir. 1979) (vacating air-quality determinations);

        Tex. Food Indus. Assn. v. U.S. Dept. of Ag., 842 F. Supp. 254, 256–57

        (W.D. Tex. 1993) (vacating labeling rules for un- and partially cooked

        meat).

    •   Nor does the July Order’s purported relation to foreign affairs except it
        from the notice-and-comment rules. Cf. 5 U.S.C. § 553(a)(1). The July

        Order does not “involve the mechanisms through with the United States

        conducts relations with foreign states,” nor was it the product of an

        “agreement between the United States and another country[.]” Capital

        Area Immigrants’ Rights Coalition v. Trump, 471 F. Supp. 3d 25, 55

        (D.D.C. 2020). Downstream effects on foreign relations are not enough;

        to qualify for the exception, the July Order would have to directly target

        a foreign-affairs function of the federal government. See id. It does not.

        c. The de facto policy excepting family-unit members from
           Title 42 is inconsistent with the law and must be struck
           down.
    For the same reasons, the Defendants’ de facto policy of excepting family-

 unit members from the Title 42 procedures must be set aside. Far from

 announcing the proposed policy to the public and inviting comment, the

 Defendants have coasted into this policy through a course of action designed to

 avoid attention. The policy has necessarily not been justified through reasoned

 explanation, and the Defendants have in fact insisted that the policy does not

 exist—that its individualized, case-by-case analysis of each family-unit

 member’s situation has resulted in a whopping eighty-eight percent of those


                                        26
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 34 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 34 of 40 PageID 852



 aliens being shunted out of Title 42. Compare ECF No. 28 at 31–32 with Facts

 § C.3.b.

    2. The Defendants’ refusal to detain aliens arriving at the
       southwest border to determine whether they carry the COVID-
       19 virus is not in accordance with law.

       a. DHS’s obligation to detain aliens is mandatory.
    The Immigration and Nationality Act does not mince words: If aliens arrive

 at the United States after DHS has received information that those aliens are

 coming from a country where a communicable, quarantinable disease is
 endemic, those aliens “shall be detained … for a sufficient time to enable the

 immigration officers and medical officers” to determine whether they are

 unadmissible because they carry that disease. 8 U.S.C. § 1222(a). “Shall” is

 mandatory; it imposes a duty, including—perhaps especially—where the

 government is being commanded to “to protect the public or private interests

 of innocent third parties.” See Texas v. United States, No. 6:21-cv-003, ___ F.

 Supp. 3d ___, 2021 WL 2096669, at *34 (S.D. Tex. Feb. 23, 2021). Indeed, “Fifth

 Circuit—as well as sister Circuit—caselaw makes clear that ‘shall’ means

 must” in the nearby command to deport an alien who is subject to a final order

 of removal. Id. (citing cases). The upshot is that if DHS knows that an alien

 traveling to the United States is traveling through a country where a disease

 such as COVID-19 is endemic, DHS has no choice but to detain the alien when

 he arrives at the border seeking admission into the United States.

    That Section 1222(a) is mandatory is also supported by multiple courts’

 interpretations of the identical “shall be detained” language in Section 1225.

 Just three years ago in Jennings v. Rodriguez, the Supreme Court observed

 that “[r]ead most naturally,” the “shall be detained” language in both Section

 1225(b)(1)(B)(ii) and Section 1225(b)(2)(A) “mandate[s] detention of applicants


                                       27
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 35 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 35 of 40 PageID 853



 for admission until certain proceedings have concluded.” 138 S. Ct. 830, 842

 (2018). The Court’s majority commented of the dissent’s attempt to construe

 “shall” as something other than a mandate, “The contortions needed to reach

 these remarkable conclusions are a sight to behold.” Id. at 848.

    And just last month, in denying a stay requested by many of these

 Defendants, the Fifth Circuit construed “shall” in two locations in Section 1225

 as a restraint on DHS’s authority. Texas v. Biden, No. 21-10806, 2021 WL

 3674780, at *7 (5th Cir. Aug. 19, 2021). The district court in that case
 characterized the “shall be detained” language in yet another subsection of

 Section 1225 as imposing a mandatory obligation to detain. Texas v. Biden, No.

 2:21-cv-067-Z, 2021 WL 3603341, at *16 (N.D. Tex. Aug. 13, 2021). There is no

 reason to treat the identical “shall be detained” language in Section 1222(a)

 any differently.

    So it is when dealing with the Immigration and Nationality Act, where

 Congress has repeatedly demonstrated that it knows how to grant discretion

 when it wants to, a contrast the Supreme Court has specifically drawn. The

 “may be detained” language in Section 1231 might be ambiguous because it

 does not describe the extent of discretion conferred, but the same cannot be

 said about the “shall be detained” language in Section 1225, which “mandate

 detention until a certain point and authorize release prior to that point only

 under limited circumstances.” Jennings, 138 S. Ct. at 844. Sections 1225(b)(1)

 and (b)(2), by using “shall be detained,” are an “unequivocal[] mandate that

 aliens falling within their scope ‘shall’ be detained.” Id. The demands of Section

 1222(a) are similarly unequivocal.

    The statute’s history further compels this conclusion. As originally enacted

 in 1917, the precursor to Section 1222(a) granted discretion; it stated that “the

 Commissioner General of Immigration … may direct that such aliens shall be


                                        28
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 36 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 36 of 40 PageID 854



 detained.” However, Congress stripped this discretion from the law in 1952,

 deleting the “may direct” language while leaving the phrase “such aliens shall

 be detained.” Congress knows how to grant immigration discretion; here, it has

 affirmatively erased that discretion from the Executive’s ambit.

       b. DHS is not complying with its mandatory duty to detain.
    DHS’s is obliged to detain subject aliens until it determines whether they

 are inadmissible due to COVID-19. It is not doing so. It frankly admits that it

 is not doing so. Even without that admission it would be obvious that it is not
 doing so; multiple municipalities in Texas have complained that the

 Defendants are dropping COVID-positive illegal aliens off in the middle of

 their cities and leaving them there to fend for themselves. A police officer in

 La Joya encountered a COVID-positive woman and her COVID-positive

 children unmasked, sneezing and coughing, in a Whataburger rather than in

 the care of the charity that was supposed to be watching over her.

    The Defendants’ refusal to detain aliens until they are clear of potential

 COVID-19 infections is not in keeping with the law. See 5 U.S.C. § 706(2)(A).

 Moreover, it is a dereliction of their duty to take care that the laws be faithfully

 discharged. See U.S. Const. art. II, § 3. They should be compelled to satisfy
 their legal obligation to ensure that aliens attempting to enter the United

 States are not carrying additional supplies of the virus that has caused the

 global pandemic that the nations of the world are trying to eradicate.

 C. Texas is suffering irreparable harm.
    Texas has already described the millions of dollars it spends on healthcare

 for those illegally in the country, including the pools from which it is drawn

 and why COVID-positive aliens admitted into the state will be a drain on those

 pools. See Facts § F.4. That financial harm is irreparable—once Texas has



                                         29
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 37 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 37 of 40 PageID 855



 spent money to care for an alien with COVID-19, it is gone. The federal

 government is under no obligation to repay Texas for what it spends, and it

 cannot be forced to do so. The quintessential reparable harm—an ability to

 recover money damages—is absent.

    But more vital and more delicate than that is Texas’s parens patriae

 interest in Texans’ health and well-being. See Texas v. United States, 86 F.

 Supp. 3d 591, 625 (S.D. Tex. 2015) (“states may rely on the doctrine of parens

 patriae to maintain suits against the federal government … to enforce the
 rights guaranteed by a federal statute”) (emphasis in original). Texas cannot

 recover money damages from the federal government; neither can individual

 Texans who catch, suffer from, and perhaps die from COVID-19 that is passed

 to them by a COVID-positive alien who should have been detained by the

 Defendants until the viral incubation period had passed. Texas workers cannot

 recover the wages they lose as a result of missing work with a COVID infection;

 Texas business owners cannot recover the profits they lose due to absent

 employees (or their own absences); Texas healthcare workers cannot recover

 the time or emotional fortitude they must spend to treat each additional

 COVID patient.

    This is in addition to the harms that Texas’s local governments, each

 exercising Texas’s delegated police power to ensure the health and welfare of

 their citizens, are suffering as a result of the Defendants’ derelictions. Cf.

 Texas, 86 F. Supp. 3d at 627 (noting state’s “quasi-sovereign interest ‘in the

 health and well-being—both physical and economic—of its residents’”)

 (quoting Alfred L. Snapp & Son v. Puerto Rico ex rel. Barez, 458 U.S. 592, 607

 (1982)). Expenditures to care for aliens who should have been rapidly expelled;

 shrinking availability of healthcare services because due to crowding out; and

 an increased number of hosts that the COVID-19 virus can use to launch itself


                                       30
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 38 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 38 of 40 PageID 856



 at new patients—these are all costs, monetary, psychic, and economic, imposed

 by the Defendants’ refusal to enforce their laws.

    This is not idle speculation by Texas; it is admitted by the Defendants. As

 DHS itself wrote earlier this year, its failure to enforce federal immigration

 laws results in “concrete injuries” to Texas. Appx.42. Just last month, CDC

 acknowledged that “healthcare systems in local communities” are victims of

 the surge of aliens across the southwest border. Appx. 18. At this point, it

 cannot be gainsaid that states “bear[] many of the consequences of unlawful
 immigration.” Arizona v. United States, 567 U.S. 387, 397 (2012) .

 D. The public interest and the equities favor an injunction.
    Because this is a case with a State on one side and the federal government

 on the other, the public-interest and balance-of-equities factors collapse into a

 single consideration. See, e.g., Nken v. Holder, 556 U.S. 418, 435 (2009). The

 balancing act here requires little delicacy: Congress has imposed an

 affirmative duty on the Defendants, and they aren’t following it. “There is

 generally no public interest in the perpetuation of unlawful agency action”—

 or, in this case, inaction. League of Women Voters v. Newby, 838 F.3d 1, 12

 (D.C. Cir. 2016). The harms to Texas and her citizens should an injunction not
 be granted are increased imposition on the resources of local governments,

 charities, and the State’s fisc and the increased chance of the spread of one of

 the most virulent diseases of modern times. The imposition on the Defendants

 should the injunction be granted, on the other hand, are that they will be held

 to the duties that the law already imposes on them. Their preferences are

 irrelevant in the face of a Congressional command.




                                        31
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 39 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 39 of 40 PageID 857



                              Prayer for Relief
    Texas prays that the Court issue a preliminary injunction prohibiting the

 Defendants from excepting unaccompanied alien children from the Title 42

 procedures solely on their status as unaccompanied alien children; prohibiting

 the Defendants from excepting from the Title 42 procedures those family-unit

 members who meet the definition of “covered aliens” given in the October

 Order; and requiring the Defendants to detain aliens arriving on the southwest

 border for a period sufficient to determine, in accordance with the

 requirements of 8 U.S.C. § 1182 and with the guidance of the Department of
 Health and Human Services, that those aliens are not carriers of the SARS-

 CoV-2 virus.

 Dated September 7, 2021.            Respectfully submitted,
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                                      32
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 40 of 44
Case 4:21-cv-00579-P Document 68 Filed 09/08/21 Page 40 of 40 PageID 858



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                                  33
  Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 41 of 44
Case 4:21-cv-00579-P Document 67 Filed 09/07/21 Page 1 of 2 PageID 815



                        United States District Court
                         Northern District of Texas
                           Fort Worth Division
STATE OF TEXAS,
   Plaintiff,
v.                                              Case 4:21-cv-00579-P
JOSEPH R. BIDEN, JR., et al.;
   Defendants.

          Texas’s Renewed Motion for Preliminary Injunction
   As set forth in its accompanying brief, the State of Texas moves that the

Court issue a preliminary injunction requiring the Defendants to cease their

exclusion of certain aliens from the Title 42 rapid-expulsion procedures and to

detain qualifying aliens for a period sufficient to determine whether they are

carrying the SARS-CoV-2 virus.

Dated September 7, 2021.            Respectfully submitted,
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  Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 42 of 44
Case 4:21-cv-00579-P Document 67 Filed 09/07/21 Page 2 of 2 PageID 816




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                         Certificate of Conference
  I certify that I conferred with Brian Stoltz, counsel for the Defendants, on
August 16, 2021. He informed me that the Defendants oppose this motion.
                                       /s/ Leif A. Olson

                            Certificate of Service
    I certify that on September 7, 2021, I filed with the Court’s CM/ECF system,
which serves filed documents on all counsel of record, (a) this Renewed Motion
for Preliminary Injunction, (b) the brief supporting this motion, and (c) the
appendix to this motion.
                                       /s/ Leif A. Olson




                                       2
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 43 of 44
Case 4:21-cv-00579-P Document 67-1 Filed 09/07/21 Page 1 of 2 PageID 817



                         United States District Court
                          Northern District of Texas
                            Fort Worth Division
 STATE OF TEXAS,
    Plaintiff,
 v.                                                Case 4:21-cv-00579-P
 JOSEPH R. BIDEN, JR., et al.;
    Defendants.

                     [Proposed] Preliminary Injunction
 A. Findings.
    Texas has demonstrated that it has a substantial chance of prevailing on
 the merits of its claims; that it is experiencing, and is immediately threatened
 with, irreparable harm as a result of the defendants’ conduct; and that the
 public interest and the balance of the equities favor an injunction.
 B. Conduct enjoined.
    Based on these findings, the Defendants are:
    •   Enjoined from exempting unaccompanied alien children from the Title
        42 procedures solely on their status as unaccompanied children.
    •   Enjoined from exempting from the Title 42 procedures to those family-
        unit members who meet the definition of “covered aliens” given in the
        October Order.
    •   Enjoined to detain aliens arriving on the southwest border who meet the
        standards set forth in 8 U.S.C. § 1182(a)(1) for a period sufficient to
        determine, in accordance with the requirements of 8 U.S.C. § 1222 and
        with the guidance of the Department of Health and Human Services,
        that those aliens are not carriers of the SARS-CoV-2 virus.
 C. Duration.
    This injunction is in effect until further order of the Court.
 D. Waiver of bond.
    Because there is no likelihood that the defendants will be harmed if this
 injunction is erroneous, the requirement to post a bond is dispensed with.
 E. Future proceedings.
    The parties will confer and, by                          , file a report of that
 conference proposing a schedule for the final resolution of this case.
   Case 1:21-cv-00100-EGS Document 168-2 Filed 11/21/22 Page 44 of 44
Case 4:21-cv-00579-P Document 67-1 Filed 09/07/21 Page 2 of 2 PageID 818




    Signed on                      , 2021, at Fort Worth, Texas.




                                   Mark T. Pittman
                                   United States District Judge




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